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 1                                                        The Honorable Judge John C. Coughenour
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                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     STATE OF WASHINGTON; STATE OF                        NO. 2:25-cv-00127-JCC
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,
11                                                        PLAINTIFF STATES’ MOTION FOR
                              Plaintiffs,                 PRELIMINARY INJUNCTION
12
        v.                                                NOTE ON MOTION CALENDAR:
13                                                        FEBRUARY 6, 2025
     DONALD TRUMP, in his official capacity
14   as President of the United States; U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; KRISTI NOEM, in her official
     capacity as Secretary of Homeland Security;
16   U.S. SOCIAL SECURITY
     ADMINISTRATION; MICHELLE KING,
17   in her official capacity as Acting
     Commissioner of the Social Security
18   Administration; U.S. DEPARTMENT OF
     STATE; MARCO RUBIO, in his official
19   capacity as Secretary of State; U.S.
     DEPARTMENT OF HEALTH AND
20   HUMAN SERVICES; DOROTHY FINK,
     in her official capacity as Acting Secretary
21   of Health and Human Services; U.S.
     DEPARTMENT OF JUSTICE; JAMES
22   MCHENRY, in his official capacity as
     Acting Attorney General; U.S.
23   DEPARTMENT OF AGRICULTURE;
     GARY WASHINGTON, in his official
24   capacity as Acting Secretary of Agriculture;
     and the UNITED STATES OF AMERICA,
25
                              Defendants.
26


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                                                                            Civil Rights Division
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 1                                      I.      INTRODUCTION
 2             The Fourteenth Amendment’s Citizenship Clause emerged out of one of our Nation’s
 3   darkest chapters and embodies one of its most solemn promises. It was passed and ratified
 4   following the Civil War to overturn the Supreme Court’s infamous holding in Dred Scott v.
 5   Sandford, 60 U.S. 393 (1857), which denied citizenship to an entire class of persons—
 6   descendants of enslaved people. The Citizenship Clause repudiated Dred Scott and reaffirmed
 7   the common law principle of jus soli, under which all individuals born in the United States and
 8   subject to its jurisdiction are citizens. Its operation is automatic and its scope broad. It provides
 9   our Nation a bright-line and nearly universal rule under which citizenship cannot be conditioned
10   on one’s race, ethnicity, alienage, or the immigration status of one’s parents. And since its
11   adoption, the Supreme Court, Congress, and the Executive Branch have continuously affirmed
12   its foundational principle that birth in the United States confers citizenship, with all its benefits
13   and privileges.
14             President Trump and the federal government now seek to impose a modern version of
15   Dred Scott. But nothing in the Constitution grants the President, federal agencies, or anyone else
16   authority to impose conditions on the grant of citizenship to individuals born in the United States.
17   The President’s Executive Order of January 20, 2025—the Citizenship Stripping Order—
18   declares that children born to parents who are undocumented or who have lawful, but temporary,
19   status lack citizenship and directs federal agencies to deprive those individuals of their rights. It
20   is flatly contrary to the Fourteenth Amendment’s text and history, century-old Supreme Court
21   precedent, longstanding Executive Branch interpretation, and the Immigration and Nationality
22   Act (INA). The Plaintiff States are therefore exceedingly likely to succeed on the merits of their
23   claims.
24             Absent an injunction, the Citizenship Stripping Order will cause substantial and
25   irreparable harm to the Plaintiff States and their residents. More than 150,000 newborn children
26   who are born each year in the United States will be denied citizenship under the Citizenship


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 1   Stripping Order because their parents are undocumented; more than 1,100 such children are born
 2   in the Plaintiff States each month. These numbers represent only a conservative baseline because
 3   the Order also attempts to deny citizenship to children born to parents with lawful, temporary
 4   status. If implemented, the Citizenship Stripping Order will cause the Plaintiff States to lose
 5   substantial federal funds that are conditioned on their residents’ citizenship and to incur
 6   immediate, substantial, and unbudgeted expenditures to implement the massive changes required
 7   to state programs and systems, none of which the Plaintiff States can recoup through this case or
 8   otherwise.
 9           The Plaintiff States will also suffer irreparable harm because thousands of children will
10   be born within their borders but denied full participation and opportunity in American society
11   and the Plaintiff States’ communities. Children born in the Plaintiff States will be rendered
12   undocumented, subject to removal or detention, and many left stateless. They will be denied
13   their right to travel freely and re-enter the United States, including the Plaintiff States. They will
14   lose their ability to obtain a Social Security number (SSN) and work lawfully in the Plaintiff
15   States as they grow up. They will be denied their right to vote, serve on juries, and run for certain
16   offices. And they will be placed into positions of instability and insecurity as part of a new,
17   Presidentially-created underclass in the United States.
18           In issuing the Temporary Restraining Order currently in place, the Court rightfully
19   recognized the blatant unlawfulness of the Citizenship Stripping Order and the grave harms it
20   will cause. ECF No. 43. A preliminary injunction is imperative to protect the Plaintiff States and
21   their public agencies, public programs, public fiscs, and state residents against the egregiously
22   illegal actions of the President and federal government. The Court should preliminarily enjoin
23   the implementation and enforcement of the Citizenship Stripping Order.
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 1                                      II.     BACKGROUND
 2   A.     President Trump Issues the Citizenship Stripping Order on Day One of His
            Presidency
 3
            On January 20, 2025, President Trump issued an Executive Order entitled “Protecting
 4
     the Meaning and Value of American Citizenship.” ECF No. 1 ¶ 2; Declaration of Lane Polozola,
 5
     Ex. 1. Section 1 of the Order declares that U.S. citizenship “does not automatically extend to
 6
     persons born in the United States” if (1) the individual’s mother was “unlawfully present in the
 7
     United States and the father was not a United States citizen or lawful permanent resident at the
 8
     time of said person’s birth”; or (2) the “person’s mother’s presence in the United States at the
 9
     time of said person’s birth was lawful but temporary . . . and the father was not a United States
10
     citizen or lawful permanent resident at the time of said person’s birth.” Polozola Decl., Ex. 1.
11
     Section 2 states that it is the “policy of the United States” that no department or agency of the
12
     federal government shall issue documents recognizing such persons as U.S. citizens or accept
13
     documents issued by State governments recognizing such persons as U.S. citizens. Id. This
14
     specific provision is effective for births occurring on or after February 19, 2025. Id. Section 3
15
     directs the Secretary of State, the Attorney General, the Secretary of Homeland Security, and the
16
     Commissioner of Social Security to “take all appropriate measures to ensure that the regulations
17
     and policies of their respective departments and agencies are consistent with this order,” and
18
     mandates that officials cannot “act, or forbear from acting, in any manner inconsistent with this
19
     order.” Id. Finally, the Order directs that “the heads of all executive departments and agencies
20
     shall issue public guidance within 30 days of the date of this order regarding this order’s
21
     implementation with respect to their operations and activities.” Id.
22
     B.     The Citizenship Stripping Order Will Immediately Disrupt Plaintiff States’
23          Programs and Upset the Lives of Hundreds of Thousands of Families
24          Citizenship confers the “right to full and equal status in our national community, a right
25   conferring benefits of inestimable value upon those who possess it.” Fedorenko v. United States,
26   449 U.S. 490, 522 (1981) (Blackmun, J., concurring). At the highest level, “citizenship confers


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 1   legal, political, and social membership in the United States, thus creating paths to mobility.”
 2   Declaration of Caitlin Patler ¶ 9. It guarantees the opportunity to participate and belong in
 3   society—to live free from fear of deportation, vote, serve on a jury, and travel. ECF No. 1 ¶¶ 55-
 4   63; see Declaration of Mozhdeh Oskouian ¶¶ 5-9; Declaration of David Baluarte ¶¶ 12-15. It
 5   further provides the opportunity to achieve economic, health, and educational potential through
 6   the right to work legally and through eligibility for social supports, such as federally backed
 7   healthcare benefits, cash and food assistance during vulnerable times, and federal student
 8   financial aid. ECF No. 1 ¶¶ 64-65, 71-90; Patler Decl. ¶¶ 10-13, 16-22; Declaration of Tom
 9   Wong ¶¶ 11-14; Declaration of Sarah Peterson ¶¶ 5, 8-10.
10          By purporting to revoke birthright citizenship, the Citizenship Stripping Order seeks to
11   immediately deny these rights and benefits to more than 150,000 children born each year in the
12   United States, condemning most to a life without authorized immigration status and some to
13   statelessness. ECF No. 1 ¶ 3; Declaration of Shelley Lapkoff ¶¶ 10, 16; Baluarte Decl. ¶¶ 8-10;
14   Oskouian Decl. ¶¶ 5-10. Instead of the right to full participation and belonging in their home
15   country—the United States—these children will be forced to live “in the shadow,” under the
16   constant risk of deportation and unable to obtain work authorization as they grow up, interrupting
17   their “ability to count on the promise of the future.” Patler Decl. ¶¶ 20-21; see also ECF No. 1
18   ¶¶ 56, 64-65; Oskouian Decl. ¶¶ 5, 9-10, 12; Baluarte Decl. ¶¶ 12-15.
19          “Denying birthright citizenship to children born in the U.S. to undocumented parents will
20   create a permanent underclass of people who are excluded from U.S. citizenship and are thus not
21   able to realize their full potential.” Wong Decl. ¶ 9. Indeed, the consequences will be severe and
22   long-lasting to the Plaintiff States and their communities, of which the children born under the
23   Order are a part. Undocumented students are less likely to complete high school or enroll in
24   higher education and will earn less at almost every stage of the lifetimes than their citizen
25   counterparts. ECF No. 1 ¶ 64; Patler Decl. ¶¶ 10-12; Wong Decl. ¶¶ 11-12, 14. They will be
26   more likely than their citizen peers to experience disease, depression, anxiety, and social


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 1   isolation. ECF No. 1 ¶ 64; Patler Decl. ¶¶ 18-19, 22. Stated differently, “[b]irthright citizenship
 2   is a cornerstone of the U.S. identity as a nation of immigrants, promoting social cohesion,
 3   opportunity, and mobility. Ending birthright citizenship would erode those principles and divide
 4   our national community, creating and reinforcing vast inequality for generations to come.” Patler
 5   Decl. ¶ 27.
 6          The Citizenship Stripping Order will directly injure the Plaintiff States in other ways,
 7   too, including by directly reducing their federal funding through programs that the Plaintiff
 8   States administer, such as Medicaid, the Children’s Health Insurance Program (CHIP), Title IV-
 9   E foster care and adoption assistance programs, and programs to facilitate streamlined issuance
10   of SSNs to eligible babies—among others. ECF No. 1 ¶¶ 71-92; see Declaration of Charissa
11   Fotinos ¶¶ 21-28; Declaration of Jenny Heddin ¶¶ 11-21; Declaration of Katherine Hutchinson
12   ¶¶ 9-13; Declaration of Jeffrey Tegen ¶¶ 8-17, 21-26; Declaration of Krystal Colburn ¶¶ 12-15;
13   Declaration of Nadine O’Leary ¶¶ 19-22; Declaration of Jennifer Woodward ¶ 13; Declaration
14   of Aprille Flint-Gerner ¶¶ 12-16; Declaration of Heidi Mueller ¶¶ 16-30. In addition to these
15   direct and substantial financial losses, the Plaintiff States will also be required to immediately
16   begin modifying the funding, operational structure, and administration of large, statewide
17   programs to account for this change. ECF No. 1 ¶¶ 93-101; Fotinos Decl. ¶¶ 21-25, 28; Heddin
18   Decl. ¶¶ 18-21; Hutchinson Decl. ¶¶ 14-18; Tegen Decl. ¶¶ 18-20; O’Leary Decl. ¶¶ 7-13, 23;
19   Woodward Decl. ¶¶ 14-18; Flint-Gerner Decl. ¶¶ 16-18; Mueller Decl. ¶¶ 31-39.
20                                        III.    ARGUMENT
21          A preliminary injunction is warranted where the moving party establishes that (1) it is
22   likely to succeed on the merits; (2) irreparable harm is likely absent preliminary relief; (3) the
23   balance of equities tips in the movant’s favor; and (4) an injunction is in the public interest.
24   Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). All factors strongly favor the
25   Plaintiff States here. The Court should enter a nationwide preliminary injunction to prevent the
26   cascade of irreparable and immediate harm that will follow if the Order is implemented.


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 1   A.      The Plaintiff States Have Standing to Challenge the Citizenship Stripping Order
 2           The Plaintiff States have standing to obtain an injunction because the Citizenship

 3   Stripping Order harms both their sovereign and pecuniary interests. The Plaintiff States’

 4   sovereign interests involve “the exercise of sovereign power over individuals and entities within

 5   the relevant jurisdiction.” Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S.

 6   592, 601 (1982). “[T]his involves the power to create and enforce a legal code, both civil and

 7   criminal.” Id.; see also Diamond v. Charles, 476 U.S. 54, 65 (1986) (the power to enforce a legal

 8   code “is one of the quintessential functions of a State,” and gives the State a “direct stake . . . in

 9   defending the standards embodied in that code”) (cleaned up). “This interest is sufficient to

10   convey standing to . . . challenge a federal [law] that preempts or nullifies state law.”

11   Washington v. U.S. Food & Drug Admin., 108 F.4th 1163, 1176 (9th Cir. 2024).

12           Here, the Citizenship Stripping Order proclaims that thousands of the Plaintiff States’

13   residents are not subject to the jurisdiction of the United States. While that assertion is based on

14   a frivolous interpretation of the Fourteenth Amendment, see infra § III.B, if not enjoined the

15   Order would render these residents the legal equivalents of “foreign ministers” who enjoy

16   immunity from “national or municipal law.” Schooner Exch. v. McFaddon, 11 U.S. 116, 138,

17   147 (1812); see also Davis v. Packard, 33 U.S. 312, 324 (1834) (affirming dismissal of civil suit

18   against diplomat whose status “exempted him from being sued in [New York] state court”).

19   Because the Plaintiff States have a “‘sovereign interest’ in the retention of [their] authority” to

20   regulate individuals within their borders, they have standing to challenge the present attempt to

21   gut it. Washington, 108 F.4th at 1176 (quoting Snapp, 458 U.S. at 601).

22           Next, the Plaintiff States may seek redress for the direct and immediate economic and

23   administrative harms the Citizenship Stripping Order will impose. As the Supreme Court has

24   recognized, “[m]onetary costs are of course an injury[,]” United States v. Texas, 599 U.S. 670,

25   676 (2023), and such losses constitute “sufficiently concrete and imminent injury to satisfy

26   Article III,” Dep’t of Com. v. New York, 588 U.S. 752, 767 (2019). Indeed, where the federal


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 1   government’s action causes a direct reduction in the number of individuals a state entity serves—
 2   and therefore a loss of revenue—the loss is unquestionably sufficient for standing. Biden v.
 3   Nebraska, --- U.S. ---, 143 S. Ct. 2355, 2365-66 (2023) (holding Missouri had standing to
 4   challenge federal action cancelling student loans because state entity serviced loans under
 5   contract with the federal government and the state alleged the challenged action would cost it
 6   millions in fees “it otherwise would have earned under its contract”). The Ninth Circuit has
 7   likewise confirmed that states have standing to challenge unlawful federal action that will
 8   directly reduce the number of individuals eligible for federally backed programs like Medicaid.
 9   City & Cnty. of San Francisco v. U.S. Citizen & Immigr. Servs., 981 F.3d 742, 754 (9th Cir.
10   2020).
11            The Plaintiff States provide health, social, and administrative services to their residents
12   and will, as a result of the Order, lose substantial federal funds they currently receive. Thousands
13   of babies born each year will be impacted. At a minimum, there will be approximately 4,000 in
14   Washington, 5,200 in Illinois, 3,400 in Arizona, and 1,500 in Oregon. ECF No. 1 ¶ 3; Lapkoff
15   Decl. ¶¶ 11-16. If denied citizenship, these children will no longer be eligible for programs the
16   Plaintiff States administer pursuant to federal law, including Medicaid, CHIP, and foster care
17   and adoption assistance programs. ECF No. 1 ¶¶ 94-100; Fotinos Decl. ¶¶ 21-28; Heddin Decl.
18   ¶¶ 6, 11-13; Tegen Decl. ¶¶ 8-17, 23-25; Flint-Gerner Decl. ¶ 6; Mueller Decl. ¶¶ 16-30. The
19   result is that the Plaintiff States will necessarily lose federal reimbursement dollars for services
20   provided through these programs. See Fotinos Decl. ¶¶ 21-28 (Washington’s Health Care
21   Authority (HCA) estimating likely loss of nearly $7 million per year if approximately 4,000
22   children become ineligible for Medicaid or CHIP coverage); Tegen Decl. ¶¶ 23-25 (Arizona
23   Health Care Cost Containment System (AHCCCS) estimating expected reduction in federal
24   revenue to the state for medical care for children of $321,844,600 over the first 18 years of life
25   for the first cohort subject to the Order); Flint-Gerner Decl. ¶¶ 12-14 (Oregon Department of
26   Human Services (ODHS) estimating that “even 45 fewer children being eligible for Title IV-E”


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 1   would reduce “Oregon’s reimbursement by $3.4 million” and “even just eight fewer eligible
 2   children per year equates to $596,850.49 in lost federal funding”); Heddin Decl. ¶¶ 11-19
 3   (detailing how each loss of an eligible child will negatively impact Washington’s foster care
 4   reimbursements under Title IV-E); Mueller Decl. ¶¶ 16-30 (same). These losses will further
 5   injure the Plaintiff States by harming children who are wards in their custody. See ECF No. 1
 6   ¶¶ 89-90.
 7          The Plaintiff States will likewise suffer direct losses of federal reimbursements under the
 8   Social Security Administration’s (SSA) longstanding Enumeration at Birth program. ECF No. 1
 9   ¶¶ 91-92; Hutchinson Decl. ¶¶ 9-13 (detailing expected loss of $16,000 per year to Washington’s
10   Department of Health (DOH) due to decrease in the number of newborns assigned SSNs at birth);
11   Colburn Decl. ¶¶ 12-15 (revocation of birthright citizenship to children born in Arizona will
12   result in reduced EAB funding to the state); O’Leary Decl. ¶¶ 19-22 (estimating loss to Illinois
13   of $21,788 to $38,129); Woodward Decl. ¶¶ 12-13 (estimating loss to Oregon of more than
14   $7,230 per year).
15          If no preliminary injunction issues, the Plaintiff States also will suffer immediate and
16   significant operational disruptions and administrative burdens within state agencies and state-
17   run-healthcare facilities as they try to navigate the chaos and uncertainty the Citizenship
18   Stripping Order creates. ECF No. 1 ¶¶ 93-101; see Declaration of Brian Reed ¶ 7 (detailing
19   disruptions to “services UW Medicine provides to newborns in the neonatal intensive care unit
20   (NICU)”); Fotinos Decl. ¶¶ 25-28 (detailing HCA’s need to develop extensive training and
21   guidance in response to a denial of birthright citizenship to children born in the United States,
22   which it estimates will require 7-8 FTEs and take two to three years to complete); Hutchinson
23   Decl. ¶¶ 14-18 (detailing Washington DOH’s likely need to devote “substantial operational time,
24   manpower resources, and technological resources” to change Washington’s vital records
25   system); Heddin Decl. ¶¶ 20-21 (Washington’s child-welfare agency will need to divert staff
26   resources from existing projects in order to amend and update processes related to Title IV-E


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 1   eligibility determinations and training); Tegen Decl. ¶¶ 18-20 (estimating it will cost $2.3-4.4
 2   million and require 12 months to update Arizona’s three systems to determine eligibility for
 3   Medicaid coverage); O’Leary Decl. ¶¶ 13, 23 (state-run healthcare facilities would incur new
 4   administrative costs to implement new systems for registration of newborns); Flint-Gerner Decl.
 5   ¶¶ 17-18 (identifying the “significant and costly administrative burden on [Oregon]” of
 6   developing a new system to determine the citizenship of children entering foster care system);
 7   Mueller Decl. ¶¶ 31-39 (discussing the “immediate and detrimental effect on the operations and
 8   finances” of Illinois child welfare system). These harms and more are detailed below, and there
 9   is no doubt that they confer standing upon the Plaintiff States to challenge the Citizenship
10   Stripping Order.
11   B.     The Plaintiff States’ Claims Are Likely to Succeed on the Merits Because Birthright
            Citizenship Is a Cornerstone of American Constitutional and Statutory Law That
12          Is Beyond Serious Dispute
13          The Plaintiff States will succeed on the merits because the Citizenship Stripping Order
14   unlawfully attempts to rob individuals born in the United States of their constitutionally
15   conferred and statutorily protected citizenship. A wall of Supreme Court, Ninth Circuit, and
16   Executive Branch authorities, as well as the INA, make clear that children born in the United
17   States in the coming weeks are citizens—just like all children born in the United States for more
18   than 150 years. The Court recognized this in issuing a TRO and should do so again by issuing a
19   preliminary injunction.
20          1.      Birthright Citizenship Is Enshrined in the Constitution
21          The meaning of the Fourteenth Amendment begins with the text. As the Supreme Court
22   has explained, “[t]he Constitution was written to be understood by the voters; its words and
23   phrases were used in their normal and ordinary as distinguished from technical meaning.”
24   District of Columbia v. Heller, 554 U.S. 570, 576 (2008). The text is expressly broad: “All
25   persons born or naturalized in the United States, and subject to the jurisdiction thereof, are
26   citizens of the United States and of the State wherein they reside.” U.S. Const. amend. XIV, § 1


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 1   (emphasis added). The Citizenship Clause contains no exceptions based on the citizenship,
 2   immigration status, or country of origin of one’s parents. Rather, its only requirements are that
 3   an individual be born “in the United States” and “subject to the jurisdiction thereof.”
 4             The only U.S.-born individuals excluded are those who are not subject to the jurisdiction
 5   of United States’ law at birth—the children of diplomats covered by diplomatic immunity and
 6   children born to foreign armies at war against the United States on U.S. soil. Not excepted are
 7   children born in the United States, even if their parents are undocumented or here lawfully but
 8   on a temporary basis. They must comply with U.S. law; so too must their parents. Undocumented
 9   immigrants pay taxes, must register for the Selective Service, and must otherwise follow—and
10   are protected by—federal and state law just like anyone else within the United States’ territorial
11   sweep. See Plyler v. Doe, 457 U.S. 202, 211 (1982) (“That a person’s initial entry into a State,
12   or into the United States, was unlawful . . . cannot negate the simple fact of his presence within
13   the State’s territorial perimeter. Given such presence, he is subject to the full range of obligations
14   imposed by the State’s civil and criminal laws.”). Indeed, it is absurd to suggest that
15   undocumented immigrants are somehow not subject to the jurisdiction of the United States. They
16   may be arrested and deported precisely because they are subject to the jurisdiction of the United
17   States.
18             The history of the Citizenship Clause confirms this longstanding, well-recognized
19   meaning of its plain language. Birthright citizenship stems from English common law’s principle
20   of jus soli—citizenship determined by birthplace. James C. Ho, Defining “American” Birthright
21   Citizenship and the Original Understanding of the 14th Amendment, 9 Green Bag 367, 369
22   (2006). In response to Dred Scott and the Civil War, Congress and the States adopted the
23   Fourteenth Amendment to reaffirm birthright citizenship as the law and “guarantee citizenship
24   to virtually everyone born in the United States,” with only narrow exceptions. James C. Ho,
25   Birthright Citizenship, The Fourteenth Amendment, and State Authority, 42 U. Rich. L. Rev.
26   969, 971 (2008); see also Gabriel J. Chin & Paul Finkelman, Birthright Citizenship, Slave Trade


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 1   Legislation, and the Origins of Federal Immigration Regulation, 54 U.C. Davis L. Rev. 2215,
 2   2227 (2021) (“Congress had indeed identified a category of people who were not allowed to be
 3   here, and who could be deported under federal law if found in the United States. Nevertheless,
 4   through the Fourteenth Amendment, Congress made the children of illegally imported slaves
 5   and free blacks U.S. citizens if born in the United States.”); Ho, Defining “American” Birthright
 6   Citizenship, supra at 369-72 (detailing ratification debate and concluding that “[t]ext and history
 7   confirm that the Citizenship Clause reaches all persons who are subject to U.S. jurisdiction and
 8   laws, regardless of race or alienage”); Garrett Epps, The Citizenship Clause: A “Legislative
 9   History,” 60 Am. Univ. L. Rev. 331, 352-59 (2010) (detailing ratification debate); see also
10   Plyler, 457 U.S. at 214 (“Although the congressional debate concerning § 1 of the Fourteenth
11   Amendment was limited, that debate clearly confirms the understanding that the phrase ‘within
12   its jurisdiction’ was intended in a broad sense.”).
13          This understanding of the Citizenship Clause is cemented by controlling U.S. Supreme
14   Court precedent which, more than 125 years ago, confirmed that the Fourteenth Amendment
15   guarantees citizenship to the children of immigrants born in the United States. United States v.
16   Wong Kim Ark, 169 U.S. 649, 704 (1898). As the Supreme Court explained: “Every citizen or
17   subject of another country, while domiciled here, is within the allegiance and the protection, and
18   consequently subject to the jurisdiction, of the United States.” Id. at 693 (emphasis added).
19   Consequently, the Court held that a child born in San Francisco to Chinese citizens, who could
20   not themselves become citizens, was an American citizen. Id. at 704. In reaching this conclusion,
21   the Court reasoned that the Fourteenth Amendment “affirms the ancient and fundamental rule of
22   citizenship by birth within the territory, in the allegiance and under the protection of the country,
23   including all children here born of resident aliens.” Id. at 693 (emphasis added). The Court noted
24   that the only exclusions involved individuals who were not, in fact, subject to U.S. jurisdiction:
25   “children born of alien enemies in hostile occupation, and children of diplomatic representatives
26   of a foreign state[]—both of which . . . had been recognized exceptions to the fundamental rule


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 1   of citizenship by birth within the country.” 1 Id. at 682. In language that remains apt, the Court
 2   explained that the Citizenship Clause “is throughout affirmative and declaratory, intended to
 3   allay doubts and to settle controversies which had arisen, and not to impose any new restrictions
 4   upon citizenship.” Id. at 688.
 5            In addition to Wong Kim Ark, the Supreme Court has separately made clear that
 6   undocumented immigrants are “subject to the jurisdiction” of the United States. In Plyler v. Doe,
 7   the Court interpreted the Equal Protection Clause and explained that the term “within its
 8   jurisdiction” makes plain that “the Fourteenth Amendment extends to anyone, citizen or stranger,
 9   who is subject to the laws of a State, and reaches into every corner of a State’s territory.” 457
10   U.S. at 215. As the Court explained, “no plausible distinction with respect to Fourteenth
11   Amendment ‘jurisdiction’ can be drawn between resident aliens whose entry into the United
12   States was lawful, and resident aliens whose entry was unlawful.” Id. at 211 n.10. The Court
13   expressly confirmed that the phrases “within its jurisdiction” and “subject to the jurisdiction
14   thereof” in the first and second sentences of the Fourteenth Amendment have the same meaning.
15   Id.
16            These are merely the most notable examples of the judiciary’s steadfast protection of the
17   Fourteenth Amendment’s birthright-citizenship guarantee. The Supreme Court, the Ninth
18   Circuit, and other courts have repeatedly confirmed that individuals born in this country are
19   citizens subject to its jurisdiction regardless of their parents’ status or country of origin. See, e.g.,
20   INS v. Rios-Pineda, 471 U.S. 444, 446 (1985) (recognizing that child of two undocumented
21   immigrants “was a citizen of this country” by virtue of being “born in the United States”);
22   Perkins v. Elg, 307 U.S. 325, 328 (1939) (“[A] child born here of alien parentage becomes a
23   citizen of the United States.”). Indeed, during World War II, the Ninth Circuit affirmed a district
24   court’s rejection of an attempt to strike from voter rolls 2,600 people of Japanese descent who
25            1
                Although the original understanding of the Fourteenth Amendment was that children born to tribal
     members are not subject to the United States’ jurisdiction at birth, it is well established under a federal statute passed
26   in 1924 that such children are granted U.S. citizenship at birth. See 8 U.S.C. § 1401(b).


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 1   were born in the United States. Regan v. King, 49 F. Supp. 222, 223 (N.D. Cal. 1942), aff’d, 134
 2   F.2d 413 (9th Cir. 1943), cert. denied, 319 U.S. 753 (1943). As the district court explained, it
 3   was “unnecessary to discuss the arguments of counsel” challenging those individuals’ citizenship
 4   because it was “settled” that a child born “within the United States” is a U.S. citizen. Id. Even
 5   before Wong Kim Ark, the Ninth Circuit confirmed the same. Gee v. United States, 49 F. 146,
 6   148 (9th Cir. 1892) (Chinese exclusion laws “are inapplicable to a person born in this country,
 7   and subject to the jurisdiction of its government, even though his parents were not citizens, nor
 8   entitled to become citizens”). 2
 9           The Executive Branch, too, has long endorsed this understanding of the Citizenship
10   Clause. When the U.S. Department of Justice’s Office of Legal Counsel (OLC) was asked in
11   1995 to assess the constitutionality of a bill that would deny citizenship to children unless a
12   parent was a citizen or permanent resident alien, OLC concluded that the “legislation is
13   unquestionably unconstitutional.” Legislation Denying Citizenship at Birth to Certain Children
14   Born in the United States, 19 Op. O.L.C. 340, 341 (1995). As OLC recognized, “Congress and
15   the States adopted the Fourteenth Amendment in order to place the right to citizenship based on
16   birth within the jurisdiction of the United States beyond question.” Id. at 340. The phrase “subject
17   to the jurisdiction thereof,” OLC explained, “was meant to reflect the existing common law
18   exception for discrete sets of persons who were deemed subject to a foreign sovereign and
19   immune from U.S. laws,” such as “foreign diplomats.” Id. at 342. OLC concluded: “Apart from
20   these extremely limited exceptions, there can be no question that children born in the United
21   States of aliens are subject to the full jurisdiction of the United States.” Id. Thus, “as consistently
22   recognized by courts and Attorneys General for over a century, most notably by the Supreme
23

24           2
                Accord Chin v. United States, 43 App. D.C. 38, 42 (D.C. App. Ct. 1915) (“If it be true that Chin Wah
25   was born of Chinese parents domiciled in California, and not employed in any diplomatic or official capacity, he
     became at his birth a citizen of the United States.”); Moy Suey v. United States, 147 F. 697, 698 (7th Cir. 1906)
     (“Nativity gives citizenship, and is a right under the Constitution. It is a right that congress would be without
26   constitutional power to curtail or give away.”).


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 1   Court in United States v. Wong Kim Ark, there is no question that they possess constitutional
 2   citizenship under the Fourteenth Amendment.” Id.
 3          The Executive Branch has accepted this foundational understanding and built daily
 4   government functions around the Citizenship Clause’s plain meaning. For example, the U.S.
 5   Department of State is granted the authority under federal law to issue U.S. passports. 22 U.S.C.
 6   § 211a. As explained in the State Department’s Foreign Affairs Manual, “[a]ll children born in
 7   and subject, at the time of birth, to the jurisdiction of the United States acquire U.S. citizenship
 8   at birth even if their parents were in the United States illegally at the time of birth[.]” Polozola
 9   Decl., Ex. 4. The State Department’s Application for a U.S. Passport confirms that for
10   “Applicants Born in the United States” a U.S. birth certificate alone is sufficient to prove one’s
11   citizenship. Id., Ex. 5. And U.S. Citizenship and Immigration Services (USCIS) likewise
12   confirms in public guidance that “[i]f you were born in the United States, you do not need to
13   apply to USCIS for any evidence of citizenship. Your birth certificate issued where you were
14   born is proof of your citizenship.” Id., Ex. 6.
15          In short, with the stroke of a pen, the Citizenship Stripping Order seeks to overrule 150
16   years of consensus as to the Citizenship Clause’s established meaning. But the Constitution does
17   not confer upon the President the authority to deny birthright citizenship to children born on
18   American soil. The Citizenship Stripping Order is unconstitutional, and the Plaintiff States are
19   overwhelmingly likely to succeed on the merits of their Fourteenth Amendment claim.
20          2.      Birthright Citizenship Is Protected Under the INA
21          The Plaintiff States are equally likely to prevail on their claim under the INA. That statute
22   faithfully tracks the Citizenship Clause’s language, stating: “The following shall be nationals
23   and citizens of the United States at birth:[] a person born in the United States, and subject to the
24   jurisdiction thereof[.]” 8 U.S.C. § 1401(a). Like any statute, it must be “interpret[ed] . . . in
25   accord with the ordinary public meaning of its terms at the time of its enactment.” Bostock v.
26   Clayton Cnty., 590 U.S. 644, 654 (2020). There is no doubt that the INA incorporates the


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 1   Citizenship Clause’s broad grant of birthright citizenship. It uses identical language and the
 2   legislative history confirms that it codified the Fourteenth Amendment’s protections. 3 See To
 3   Revise and Codify the Nationality Laws of United States into a Comprehensive Nationality Code:
 4   Hearings Before the Comm. on Immig. and Naturalization on H.R. 6127 Superseded by H.R.
 5   9980, 76th Cong., 1st Sess., at 38 (1940) (Section 201 language regarding citizenship at birth “is
 6   taken of course from the fourteenth amendment to the Constitution”); Nationality Laws of the
 7   United States, 76th Cong. 1st Sess., at 418 (“It accords with the provision in the fourteenth
 8   amendment to the Constitution[.]”). 4
 9            As a result, the INA incorporates the same bright-line and near-universal grant of
10   birthright citizenship as the Citizenship Clause itself. See George v. McDonough, 596 U.S. 740,
11   746 (2022) (“Where Congress employs a term of art obviously transplanted from another legal
12   source, it brings the old soil with it.”) (cleaned up). Like the Citizenship Clause and Supreme
13   Court precedent interpreting it, the INA cannot be displaced by executive fiat. The Plaintiff
14   States are highly likely to succeed in showing that the Citizenship Stripping Order violates the
15   INA.
16   C.       The Citizenship Stripping Order Will Immediately and Irreparably Harm the
              Plaintiff States
17
              If not enjoined, the Citizenship Stripping Order will immediately and irreparably harm
18
     the Plaintiff States by injuring their sovereign interests and forcibly shifting unrecoverable
19
     financial costs and substantial administrative and operational burdens onto the Plaintiff States.
20
     Economic harm “is irreparable” when a state “will not be able to recover money damages,”
21
     California v. Azar, 911 F.3d 558, 581 (9th Cir. 2018), including when money damages are not
22
     recoverable due to the sovereignty of the defendant, Idaho v. Coeur d’Alene Tribe, 794 F.3d
23
              3
24               8 U.S.C. § 1401 was first enacted as Section 201 of the Nationality Act of 1940 and reenacted as Section
     301 of the Immigration and Nationality Act of 1952. See H.R. Rep. No. 82-1365 (1952), as reprinted in 1952
25   U.S.C.C.A.N. 1653, 1734 (“The bill carries forward substantially those provisions of the Nationality Act of 1940
     which prescribe who are citizens by birth.”); id. at 1675-78 (1952 House Report discussing the Citizenship Clause
     as interpreted by Wong Kim Ark).
26             4
                 Available at: https://babel.hathitrust.org/cgi/pt?id=mdp.39015019148942&seq=1.


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 1   1039, 1046 (9th Cir. 2015). And when “[t]he State will bear the administrative costs of changing
 2   its system to comply” and is unlikely to recover those costs in litigation, the harm is irreparable.
 3   Ledbetter v. Baldwin, 479 U.S. 1309, 1310 (1986).
 4          Under the new regime the Citizenship Stripping Order attempts to erect, the Plaintiff
 5   States will suffer irreparable and immediate harm to their public health programs. Medicaid and
 6   CHIP, created by federal law, support the Plaintiff States’ provision of low-cost health insurance
 7   to individuals whose family incomes fall below eligibility thresholds and who are U.S. citizens
 8   or “qualified aliens.” 42 U.S.C. § 1396b(v); 8 U.S.C. §§ 1611(a), (c)(1)(B); 42 C.F.R. § 435.406.
 9   The programs are administered by States but funded in part by the federal government. See
10   Fotinos Decl. ¶¶ 4-7, 10-16. And under federal law, agencies like Washington’s HCA must
11   provide Medicaid and CHIP coverage to citizens and qualified noncitizens whose citizenship or
12   qualifying immigration status is verified and who are otherwise eligible. Id. ¶ 17. To provide
13   legally mandated care, ensure that children within their jurisdiction have access to
14   comprehensive health insurance, and further the public health, certain states like Washington
15   also provide state-funded health insurance to undocumented children who otherwise are eligible
16   for Medicaid or CHIP. Id. ¶¶ 4-5, 11-16, 23-24.
17          Washington’s Medicaid and CHIP programs rely on significant federal funding to
18   operate—including federal reimbursements of between 50 and 65 percent of expenditures for
19   coverage provided to eligible children. Id. ¶¶ 6, 14, 24, 26. In 2022, HCA administered coverage
20   for more than 4,000 children who, as citizens, were eligible for Medicaid or CHIP despite being
21   born to undocumented or non-qualifying mothers. Id. ¶ 27. If those children were not citizens at
22   birth, they would be ineligible for Medicaid or CHIP and the cost of their care would shift to
23   Washington’s state-funded CHP health coverage for children, resulting in an increase to State
24   expenditures of $6.9 million. Id. ¶¶ 26-27. The Citizenship Stripping Order will impact at least
25   that many newborn children in Washington each year. Lapkoff Decl. ¶ 11.
26


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 1           Nor can this harm be waved away as self-inflicted. These programs are established and
 2   operated pursuant to federal law that dictates services states must provide. State providers like
 3   UW Medicine’s Harborview hospital are required by federal law to provide emergency care.
 4   Fotinos Decl. ¶ 26; see 42 U.S.C. § 1395dd(b); 42 C.F.R. § 440.255(c). For children who would
 5   be eligible for CHIP but for their status, the State will necessarily lose the 65 percent federal
 6   reimbursement for emergency care that is provided. Fotinos Decl. ¶ 26. Other Plaintiff States
 7   will similarly lose federal Medicaid and CHIP funding for babies stripped of citizenship. See
 8   Tegen Decl. ¶¶ 23-25 (estimating that removal of birthright citizenship would reduce federal
 9   revenue to Arizona for medical care provided to children by $321,844,600 over the first 18 years
10   of life for the first cohort subject to the Order).
11           The Citizenship Stripping Order will likewise cause the direct loss of federal
12   reimbursements for services provided in state foster care systems. For example, Washington
13   State’s Department of Children, Youth, and Families (DCYF), like other Plaintiff States’ child
14   welfare agencies, receives federal Title IV-E funding for the administration of its foster care
15   program, including programs to support permanent placements and other critical functions.
16   Heddin Decl. ¶¶ 4-10; Flint-Gerner Decl. ¶¶ 4-11 (Oregon); Mueller Decl. ¶¶ 16-30 (Illinois).
17   State reliance on Title IV-E is substantial: In federal financial year 2024, Washington received
18   $219 million in Title IV-E reimbursements. Heddin Decl. ¶ 17. Under the Citizenship Stripping
19   Order, children born to undocumented parents will no longer be eligible under Title IV-E; the
20   Plaintiff States will thus bear the full cost of serving children in their foster care systems. Heddin
21   Decl. ¶¶ 11-18; see also Flint-Gerner Decl. ¶ 14 (estimating Oregon will lose $569,850 if even
22   eight children become ineligible and $3.4 million if even 45 children become ineligible under
23   Title IV-E); Mueller Decl. ¶¶ 16-30 (detailing likely loss to Illinois of “significant share of
24   federal funds under Title IV-E”).
25           The Plaintiff States will also face an immediate reduction in payments from SSA for
26   administration of the Enumeration at Birth program. Hutchinson Decl. ¶ 13; Colburn Decl.


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 1   ¶¶ 12-15; O’Leary Decl. ¶¶ 19-22; Woodward Decl. ¶¶ 12-13. Pursuant to contracts with SSA,
 2   Plaintiff States’ vital statistics agencies, like Washington’s DOH, collect newborn birth data,
 3   format it, and transmit it to the SSA to facilitate the assignment of SSNs to newborn babies.
 4   Hutchinson Decl. ¶¶ 7-13. This is how almost all SSNs are assigned in the United States today.
 5   Id. ¶ 10. In exchange, the SSA pays the State $4.19 for each SSN assigned through this process,
 6   for a total of nearly $440,000 per year. Id. ¶ 12; see O’Leary Decl. ¶ 19 (Illinois receives $4.19
 7   per SSN, for a total of just under $500,000 in FY 2025); Woodward Decl. ¶ 12 (Oregon receives
 8   $4.82 per SSN, for a total of $158,381 in 2023); Colburn Decl. ¶ 12 (Arizona received
 9   $936,469.38 for FY2025 through the EAB process). The loss of revenue will begin occurring
10   immediately if the Citizenship Stripping Order goes into effect and SSA ceases issuing SSNs to
11   children whose citizenship the federal government no longer recognizes.
12          Finally, the Plaintiff States’ agencies will suffer additional immediate harms due to the
13   sudden and substantial new administrative and operational burdens created by the Order. The
14   Plaintiff States are required under federal law to verify the eligibility of the residents they serve
15   through programs like Medicaid and CHIP. Fotinos Decl. ¶¶ 17-20; Tegen Decl. ¶ 18. Likewise,
16   the Plaintiff States must confirm citizenship or a qualifying immigration status of children in
17   foster care to receive reimbursements under Title IV-E. Heddin Decl. ¶ 20; Flint-Gerner Decl.
18   ¶ 17; Mueller Decl. ¶ 31. State agencies that previously relied on a child’s place of birth, birth
19   certificate, or SSN to automatically determine eligibility for federal programs will now be
20   required to create new systems to affirmatively determine the citizenship or immigration status
21   of every child born in their states to ascertain whether they are entitled to federally backed
22   services, as well as update policies, training, and guidance to operationalize these new systems.
23   See Fotinos Decl. ¶¶ 25, 28 (necessary system changes for HCA would require 7-8 FTEs and
24   take two to three years); Tegen Decl. ¶¶ 18-20 (cost of implementing necessary changes to
25   AHCCCS eligibility systems range from $2.3-4.4 million); see also Heddin Decl. ¶¶ 20-21;
26   O’Leary Decl. ¶¶ 13, 23; Flint-Gerner Decl. ¶¶ 16-18; Mueller Decl. ¶¶ 31-39.


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 1           In sum, the Plaintiff States will be forced to bear the costs of reforming their systems for
 2   the administration of several programs due to the Citizenship Stripping Order. They will lose
 3   millions of dollars in federal reimbursements and be forced to expend significant resources
 4   addressing the “chaotic” change the Citizenship Stripping Order requires. Hutchinson Decl. ¶ 16.
 5   These types of financial, operational, and administrative burdens, which cannot be avoided, are
 6   precisely the types of irreparable harm that warrant an injunction. See, e.g., City & Cnty. of San
 7   Francisco, 981 F.3d at 762 (affirming injunction where states showed “they likely are bearing
 8   and will continue to bear heavy financial costs because of withdrawal of immigrants from federal
 9   assistance programs and consequent dependence on state and local programs”); Ariz. Democratic
10   Party v. Hobbs, 976 F.3d 1081, 1084-86 (9th Cir. 2020) (entering emergency stay where sudden
11   election-law change would “send[] the State scrambling to implement and to administer a new
12   procedure” in less than two months); Doe v. Trump, 288 F. Supp. 3d 1045, 1083 (W.D. Wash.
13   2017) (“Throughout the time it will take [plaintiff organizations] to adequately build programs
14   to service other populations, the organizations will suffer irreparable harm.”).
15   D.      The Equities and Public Interest Weigh Strongly in the Plaintiff States’ Favor
16           The equities and public interest, which merge when the government is a party, could not
17   tip more sharply in favor of the Plaintiff States. Wolford v. Lopez, 116 F.4th 959, 976 (9th Cir.
18   2024). The Citizenship Stripping Order attempts to return our Nation to a reprehensible chapter
19   of American history when Dred Scott excluded Black Americans from citizenship—a view of
20   citizenship soundly rejected by the people and their representatives through the Fourteenth
21   Amendment. See 19 Op. O.L.C. at 349 (“From our experience with Dred Scott, we had learned
22   that our country should never again trust to judges or politicians the power to deprive from a
23   class born on our soil the right of citizenship.”). The Court should not allow a return to a regime
24   where Americans born on United States soil are excluded from our citizenry based on their class,
25   race, status, or any other characteristic. This grave deprivation of rights belies any public interest
26   in the Order because “public interest concerns are implicated when a constitutional right has


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 1   been violated, . . . all citizens have a stake in upholding the Constitution.” Betschart v. Oregon,
 2   103 F.4th 607, 625 (9th Cir. 2024) (quotations omitted).
 3           The harms to Plaintiff States and their residents are not abstract. The Citizenship
 4   Stripping Order deprives children born in the Plaintiff States of a foundational right enabling full
 5   participation in our democracy, as citizens may exercise their fundamental right to vote in
 6   federal, state, or local elections. U.S. Const. amend. XVI; ECF No. 1 ¶ 57 (citing state
 7   constitutions). They may serve on federal and state juries. 28 U.S.C. § 1865(b)(1); ECF No. 1
 8   ¶ 58 (citing state statutes). They may become the President, Vice President, or a member of
 9   Congress, and hold offices in the Plaintiff States. U.S. Const. art. II, § 1; U.S. Const. art I, §§ 2-
10   3; ECF No. 1 ¶ 61 (citing state laws). Children subject to the Citizenship Stripping Order will be
11   denied each of these rights and benefits they would have had if they were born earlier.
12           The vast majority of those subject to the Order will be condemned to the additional harm
13   of living with undocumented legal status. Most of the babies denied citizenship will be left with
14   no legal immigration status and no prospects for legalization. Oskouian Decl. ¶¶ 5-10. Children
15   left without legal status “will be at immediate risk of removal from the United States,” including
16   “being at risk of being arrested and detained” during removal proceedings. Id. ¶ 9. Others will
17   likely become stateless, “left in legal limbo” with “no home country to return to voluntarily or
18   otherwise.” Baluarte Decl. ¶¶ 8-15. Statelessness would assign these children “a fate of ever-
19   increasing fear and distress.” Trop v. Dulles, 356 U.S. 86, 102 (1958).
20           The harms of living in the United States without legal status are profound. One such harm
21   is the deprivation of one’s fundamental right to travel: “Travel abroad, like travel within the
22   country . . . may be as close to the heart of the individual as the choice of what he eats, or wears,
23   or reads. Freedom of movement is basic in our scheme of values.” Aptheker v. Sec’y of State,
24   378 U.S. 500, 505-506 (1964) (cleaned up). The Order deprives individuals of their right to travel
25   by denying eligibility to obtain a passport, 22 C.F.R. § 51.2, bars them from re-entry to the
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 1   United States, Oskouian Decl. ¶ 7, and makes them ineligible for identification needed for certain
 2   domestic travel. Id. ¶ 11; 6 C.F.R. §§ 37.11(g), 37.5.
 3          Depriving children born and residing in the Plaintiff States of citizenship will further
 4   harm their economic, educational, and mental health outcomes, depriving the Plaintiff States of
 5   the human capital and economic contribution that results from the full social and economic
 6   integration of youth into society. Without legal status, individuals have worse educational
 7   outcomes: One study found that undocumented immigrant youth had more than double the
 8   probability of high school non-completion, relative to U.S. citizens. Patler Decl. ¶ 10; see also
 9   Wong Decl. ¶¶ 11-12 (finding 17.9% difference in unauthorized immigrants ages 18-24 with
10   high school diploma compared to citizens). There are multiple causes of the disparity in
11   education outcomes for undocumented students, including ineligibility for federal student
12   financial aid. 34 C.F.R. § 668.33(a); see also Patler Decl. ¶ 13 (institutional characteristics,
13   knowledge of future barriers, and feelings of despair and hopelessness also affect educational
14   trajectories). In addition, the impacts on earning potential and mobility of undocumented status
15   are stark. Children left without lawful status due to the Order will not be eligible for employment
16   authorization. See 8 C.F.R. § 274a.12; Oskouian Decl. ¶ 12; Baluarte Decl. ¶ 14. While citizens
17   and undocumented immigrants are both employed at similar rates, U.S. citizens earn
18   significantly more annual total income. Wong Decl. ¶¶ 13-14; Patler Decl. ¶ 10 n.1.
19          “[I]mmigrant legal status is also a fundamental determinant of health.” Patler Decl. ¶ 17.
20   Children growing up undocumented experience “profound” health harms, “particularly with
21   regard to mental health and emotional wellbeing.” Id. ¶ 19. Barriers to health care, isolation and
22   stigma, exclusion from normal rites of passage in American life, and fear of deportation
23   contribute to undocumented individuals experiencing anxiety, chronic sadness, depression, and
24   hopelessness, as well as poorer physical health. Id. ¶¶ 17-22. Furthermore, denial of critical cash
25   and food assistance to children who would have been eligible but for the Order will deprive them
26   of access to sufficient and healthy food and to shelter, warm clothing, and safety, “causing a


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 1   negative impact on children’s health and risking increasing rates of child hunger.” Peterson Decl.
 2   ¶¶ 7-10. An increase in the number of uninsured children will also exacerbate the harm to public
 3   health. Id. ¶¶ 13-14; Fotinos Decl. ¶ 24 (loss of federal eligibility for health coverage will “likely
 4   result in a significant number of children who may go uninsured and receive only emergency
 5   care when absolutely necessary, leading to worse health outcomes”).
 6           The Citizenship Stripping Order will additionally harm communities and civic life in the
 7   Plaintiff States. Threats to citizenship status trigger fear and cause young people to “distance
 8   themselves from their family, culture, and language[,]” and “[w]ithout lawful status, [young
 9   people] . . . cannot experience full belonging in U.S. culture and communities.” Declaration of
10   Magaly Solis Chavez ¶ 12. That is because “citizenship confers legal, political, and social
11   membership in the United States,” and is a “central determinant of immigrants’ integration and
12   mobility.” Patler Decl. ¶¶ 9. “[D]enying citizenship to children born to undocumented parent(s)
13   would be catastrophically harmful for children’s development, wellbeing, and mobility. These
14   harms would extend beyond the millions of impacted children themselves, impacting schools,
15   neighborhoods, communities and, indeed, our nation as a whole.” Id. ¶ 27. The Citizenship
16   Stripping Order will create a permanent underclass of people excluded from American society,
17   impeding community integration, self-sufficiency, and a thriving democracy. See Baluarte Decl.
18   ¶ 15; Wong Decl. ¶ 8; Patler Decl. ¶¶ 9, 27; Peterson Decl. ¶¶ 7, 10; Solis Chavez Decl. ¶¶ 7-12;
19   Oskouian Decl. ¶ 14.
20           Finally, the federal government has no legitimate public interest in enforcing the
21   unlawful Citizenship Stripping Order. An executive order’s “facially unconstitutional directives
22   and its coercive effects weigh heavily against leaving it in place.” Santa Clara v. Trump, 250 F.
23   Supp. 3d 497, 539 (N.D. Cal. 2017). The only justification offered is that the Citizenship
24   Stripping Order may deter unlawful immigration, a hypothetical rationale and political
25   motivation that can never justify an unlawful deprivation of constitutional rights. Indeed, the
26   entire point of the Citizenship Clause was to remove the weaponization of citizenship status as a


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 1   policy tool. See 19 Op. O.L.C. at 347. The government has lawful means to effect immigration
 2   policy. The Citizenship Stripping Order is not one of them.
 3   E.     A Nationwide Injunction Barring Implementation of the Citizenship Stripping
            Order Is Needed to Provide Complete Relief
 4
            A nationwide injunction is necessary due to the extraordinary nature of the Citizenship
 5
     Stripping Order and the impossibility of fashioning an injunction of lesser scope that would
 6
     provide complete relief to the Plaintiff States. As the Ninth Circuit has explained, “[t]he scope
 7
     of an injunction is ‘dependent as much on the equities of a given case as the substance of the
 8
     legal issues it presents,’ and courts must tailor the scope ‘to meet the exigencies of the particular
 9
     case.’” Doe #1 v. Trump, 957 F.3d 1050, 1069 (9th Cir. 2020) (quoting Azar, 911 F.3d at 584).
10
     Here, American citizenship cannot be made to hinge on the state in which a child is born without
11
     causing the Plaintiff States the harms detailed herein. If an injunction is limited in geographic
12
     scope, the Plaintiff States would suffer the same harms insofar as babies born in non-party states
13
     (who would otherwise have been citizens) travel or move to the Plaintiff States and obtain
14
     healthcare and foster care services at the Plaintiff States’ expense. Expecting parents would be
15
     restricted from travel—essentially trapped in the Plaintiff States—rather than risk their baby’s
16
     birth as a non-citizen in a different state. State-based citizenship would also be unworkable at
17
     airports and other international ports of entry, which are controlled by federal authorities and
18
     require uniform rules.
19
            In addition to these practical realities, the Supreme Court has acknowledged nationwide
20
     relief is necessary when “one branch of government [has] arrogated to itself power belonging to
21
     another.” Biden, 143 S. Ct. at 2373 (reversing district court’s refusal to issue preliminary
22
     injunction). The Citizenship Stripping Order’s attempt to do precisely that—to unilaterally
23
     amend the Fourteenth Amendment and discard a federal statute—necessitates an injunction that
24
     preserves the status quo birthright citizenship guarantee as it has long existed: A uniform rule
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 1   that draws no lines based upon the citizenship or immigration status of one’s parents or the
 2   location of one’s birth within the United States.
 3                                       IV.     CONCLUSION
 4          Plaintiff States request that the Court issue a preliminary injunction barring the
 5   Citizenship Stripping Order’s enforcement or implementation.
 6          DATED this 27th day of January 2025.
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                                                   words, in compliance with the Local Civil Rules.
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 1                                   CERTIFICATE OF SERVICE
 2
            I hereby certify that the foregoing document was electronically filed with the United
 3
     State District Court using the CM/ECF system. I certify that all participants in the case are
 4
     registered CM/ECF users and that service will be accomplished by the CM/ECF system.
 5

 6
     Dated this 27th day of January 2025 in Seattle, Washington.
 7

 8                                         s/ Tiffany Jennings
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